PML EM elem COM CTL LU eater: ios

United States Bankruptcy Court for the:

Eastern District of Wisconsin NN? 1 qetya
(Slate) a _ a
Case number (if known): Chapter 13 1) Check if this is an

amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Enduring Love International Center, LLC

>. Allother names debtor used _ during Love International Center

in the last 8 years

Include any assumed names,

trade names, and doing business
as names

3. Debtor's federal Employer 8 6 30 593659
Identification Number (EIN) Srearciemeadt © SST bE Se ne

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business

11301 West Lake Park Drive

Number Street Number Street

P.O. Box

Milwaukee, Wisconsin 53224

City State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business

Milwaukee
County
Number Street
City State ZIP Code
5. Debtor's website (URL)
Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1

Case 24-21812-rmb Doc1 Filed 04/12/24 Page1of 41
Debtor Enduring Love International Center, LLC Goxenuniberuewsi

Name

Q Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
() Partnership (excluding LLP)
{4 Other. Specify: LLc

6. Type of debtor

A. Check one:
7. Describe debtor’s business

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
id Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Q) Railroad (as defined in 11 U.S.C. § 101(44))

CL) Stockbroker (as defined in 11 U.S.C. § 101(53A))

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))

Q Clearing Bank (as defined in 11 U.S.C. § 781(3))

U1) None of the above

B. Check aif that apply:

C) Tax-exempt entity (as described in 26 U.S.C. § 501)

C1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C1] Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts.gov/four-digit-national-association-naics-codes .

8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? I Chapter 7
Q) Chapter 9

{d Chapter 11. Check all that apply.
C) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or

affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11

(whether or not the debtor is a income tax return or if any of these documents do not exist, follow the procedure in
“small business debtor’) must 11 U.S.C. § 1116(1)(B).
check the second sub-box. U1 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate

noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

a plan is being filed with this petition.

CL) Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Atfachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

C) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

C) Chapter 12

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2

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Debtor Enduring Love International Center, LLC Case number orinoum

Name

9. Were prior bankruptcy cases (4 No
filed by or against the debtor
within the Jast 8 years? CO ves. District When Case number
MM/ DDIYYYY

if more than 2 cases, attach a

separate list, District When Case number

MM/ OD/YYYY

10. Are any bankruptcy cases id No

pending or being filed by a
business partner or an Cl] Yes. Debtor Relationship
affiliate of the debtor? District When

List all cases. If more than 1, MM / BD IYYYY

attach a separate list. Case number, if known

11. Why is the case filed in this = Check aif that apply:

district?
12 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
distzict.

i] A bankruptcy case conceming debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own orhave (] No

possession of any real {4 Yes. Answer below far each property that needs immediate attention. Attach additional sheets if needed.
property or personal property

that needs immediate Why does the property need immediate attention? (Check all that apply.)

attention?

CI tt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

CQ) itneeds to be physically secured or protected from the weather.

() itincludes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options}.

other Potential seizure

Where is the property?_11301 West Lake Park Drive

Number Street
Milwaukee WI! §3224
City State ZIP Code

Is the property insured?
LI No

{2 Yes. insurance agency Travelers Insurance Company

Woller-Anger
800-252-2268

Contact name

Phore

a Statistical and administrative information

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptey page 3

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Enduring Love International Center, LLC CHSA TUNA RFincud

Debtor
Name
13. Debtor’s estimation of Check one:
available funds Q) Funds will be available for distribution to unsecured creditors.
(4 After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
: (4 1-49 C) 1,000-5,000 CL] 25,001-50,000
14. ee number o QO 50-99 Q 5,001-10,000 1 50,001-100,000
ae Q) 100-199 QC) 10,001-25,000 Q) More than 100,000
L) 200-999
C) $0-$50,000 {4 $1,000,001-$10 million L) $500,000,001-$1 billion
15. Estimated assets Q) $50,001-$100,000 Q  $10,000,001-$50 million Q $1,000,000,001-$10 billion
QO) $100,001-$500,000 QO) $50,000,001-$100 million QO) $10,000,000,001-$50 billion
CJ $500,001-$1 million (I $100,000,001-$500 million () More than $50 billion
oo CL) $0-$50,000 {4 $1,000,001-$10 million (J $500,000,001-$1 billion
16. Estimated liabilities Q) $50,001-$100,000 Q) $10,000,001-$50 million Q $1,000,000,001-$10 billion
CL] $100,001-$500,000 L) $50,000,001-$100 million C) $10,000,000,001-$50 billion
C) $500,001-$1 million C) $100,000,001-$500 million C) More than $50 billion

ae Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of ye
petition.
debtor

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 04/11/2024

* Candie Yer Herr
Printed name
Title Authorizéd Representative
Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4

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Debtor Enduring Love International Center, LLC

18. Signature of attorney x

Official Form 201

Signature of soniye

Candie Yer Herr

Case number (if known),

Date 04/11/2024

MM /DD /YYYY

Printed name

Firm name

11301 West Lake Park Drive

Number Street

Milwaukee Wi 53224
City State ZIP Code

702-833-9985

Contact phone

candie.herr@yahoo.com

Email address

Bar number

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Case 24-21812-rmb Doci1_ Filed 04/12/24

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page 5
PMU EMILCLCLeia CRC MAU CSa Cos
Enduring Love International Center, LLC

Debtor name

Eastern District of WI
Cc ber (If k : Sie) Q) Check if this is an
ase number (If known): amended filing

United States Bankeuptey Court for the:

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest

Unsecured Claims and Are Not Insiders 42145

A fist of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20

largest unsecured claims.

~ Name of creditor and ci complete - “Name, telephone number, and ‘Nature of the claim : Amount of fl unsecured. claim Q
~ malling address, including zip code “email address of creditor’. i(for example, trade : 4 Ifthe claim Is fully unsecured, fill in only unsecured
: oo meee : ‘debts, bank loans -Eglaim amount. if claim is partiatly secured, fill in =
professional otal claim amount and deduction for value of 2:
services, and . 3
government ::
contracts) SS
Total claim, if | Deductlonfer | Unsecured . ..
partially —- -} value of “7? claim
isecured -..- ‘{ collateral or
setoff
1 | HALLOIN LAW GROUP S.C SCOTT R. HALLOIN Civil Judgement
839 N JEFFERSON AVE FIFTH ELR for LONG LEE et al. $ disputed $2,500,000
MILWAUKEE, WISCONSIN 53202 | (414) 732-2424
2
3
‘4
5
6
7
8
Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 1

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49

12

Debtor

Enduring Love International Center, LLG

Name

Name of creditor ‘and complete moe
mailing address, Including zp ¢ code -

“Name, tolephone number, and.
: “for example, trade °:
- debts, bank loans, :

“email address. of sraditor
_contact

“| professional
iservices, ‘and -:
= government ;
contracts)

Case number (ifkacin),

14

15

16

17

19

18

Official Form 204

“Nature of the claim. Indicate if. | Amount of unsecured claim
‘claim 48 :::-"/ [the claim is fully unsecured, fill in only unsecured
jeontingent, °-claim amount, If claim is partially secured, fill in

“unliquidated, | total claim amount and deduction for vatue of ©
:or-disputed collateral or setoff to calculate unsecured claim, »
“4 Total claim, If | Deduction for | Unsecured
“24 partially value of claim
ccd secured collateral or :
setoff
page 2

Page 7 of 41

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims
Case 24-21812-rmb Doc1 Filed 04/12/24

Bal neato ee eR Cel bee Uae EL

Debtor name Enduring Love International Center, LLC

United States Bankruptcy Court forthe: Eastern District of Wi
(State)

Case number (If known):

Official Form 206Sum
Summary of Assets and Liabilities for Non-individuals

LL) Checkif this is an
amended filing

42/15

Coo Summary of Assets

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

1a. Real property:

Copy line 88 from Schedule ALB... ee cssseseseecseneneesesenenneecesaenseaeeensenannaceccaasannersesasceneraevasnaeaes
1b. Total personal property:

Copy line $1A from Schedule A/B.

3 1,000,000

30

tc. Total of all property:
Copy line 92 from Schedule A/B

i Summary of Ltabilities

g 1,000,000

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, fromiine 3 of Schedule D.

3. Schedule E/F: Creditors Who Have Unsecured Claims(Olficial Form 206E/F)

3a, Total claim am ounts of priority unsecured claims:
Copy the total claims from Part 1 fromline 5a of Schedule E/F

3b. Total amount of claims of nonpricrity amount of unsecured ciaims:
Copy the total of the amount of claims from Part 2 fromiine 5b of Schedule E/F

4. Total liabilities... cess rnsereereeerereeserrissceeensescceenssesceenitareeqeeeaaeseesneresseseenesaeete

5 3:262,000

Lines 2 + 3a+ 3b

Official Form 206Sum Case 54s mary or Assets AAs dapilities for OSE

ve 5 2,262,000

1
Page 8 of 41 pase

alam al 3 ele tel amrelra igus heme tise

Debtorname Enduring Love International Center, LLC

United States Bankcuptcy Court for the: Eastern District of __ WI
(Stata)

Case number (if known}:

Official Form 206A/B

C) Check if this is an
amended filing

Schedule A/B: Assets — Real and Personal Property 42115

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Aiso include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list tham on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G}.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At fhe top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts fram the attachment in the total for the pertinent part.

For Part 1 through Part 13, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. in valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

UL] No. Go to Part 2.
U7 Yes. Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor

2. Cash on hand

3. Checking, savings, money market, or financial brokerage accounts (/dentify ail}

3.1, Landmark Credit Union

4. Other cash equivalents (identify ail)
44.

Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number

3.2. oe

‘Current vatue of debtor's
interest

g 500.00

4.2,

5. Total of Part 1
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Ey Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

kd No. Go to Part 3.
C] Yes. Fill in the information below.

7. Deposits, including security deposits and utility deposits

Description, including name of holder of deposit
7A,

7.2.

Official Form 206A/B Schedule A/B: Assets — Real and Persona! Property

Case 24-21812-rmb Doci1_ Filed 04/12/24

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Current value of
debtor's interest

page 1

Debtor Enduring Love International Center, LLC Case number (foun)

Name

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of Halder of prepayment
8.1. $
8.2. $

9. Total of Part 2.
Add lines 7 through 8. Copy the total to line 8+.

Cr Accounts receivable

10. Does the debtor have any accounts receivable?
i Neo. Go to Part 4.
1 Yes. Fill in the information below.
Current value of debtor's |
interest :
11. Accounts receivable
11a. 90 days old or less: - BH accesee > $
face amaunt doubtful or uncolectible accounts
110. Ovar 90 days old: - FP $
face amount doubtful or uncofectible accounts
12. Total of Part 3 $
Current value on lines 11a + 11b = line 12. Copy the total to line 82.
Investments
13. Does the debtor own any investments?
(7 No. Go to Part 5.
] Yes. Fill in the information below.
Valuation method Current value of debtor's |
used for current value interest - : :
+4. Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:
14.1. $
14.2, $
15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, or joint venture
Name of entily: % of ownership:
15.1, % $
15.2. % $
16. Government bonds, corporate bonds, and other negotiable and non-negotiable
instruments not included in Part 1
Describe:
16.1. $
16.2, s
17. Total of Part 4 $
Add lines 14 through 16, Copy the total to line 83.
Official Form 206A/B Schedule A/B: Assets ~. Real and Personal Property page 2
Case 24-21812-rmb Doc1 Filed 04/12/24 Page 10 of 41

Enduring Love {nternational Center, LLC

Name

Ee Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

(4 No. Go to Part 6.
() Yes. Fill in the information below.

Debtor Case number (i knoan}

Generai description Date of the fast Net book value of Valuation method used Current value of
physical inventory debtor's interest for current value debtor's interest

{Where available) :

18. Raw materials

MM DDT YYYY 5 $
20. Work in progress :
MM PDD YYYY $ $
21. Finished goods, including goods held for resale
MM FDOT YYYY $ $
22. Other inventory or supplies
MM DBT YY $. §
23. Total of Part 5 $
Add lines +9 through 22. Copy the total to line 84.
24, Is any of the property listed in Part 5 perishable?
CQ) No
L) Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
[3 No
L} Yes. Book value Vaiuation method Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
QO no

UL] Yes

eo Farming and fishing-related assets (other than titled motor vehicles and land)

27, Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
WI No. Go to Part 7.
(] Yes. Fill in the information below.

General description ' Netbook value of . Valuation method used . Current value of debtor's
debtor's interest for current value interest ‘

(Where available)

28. Crops—either planted or harvested

$ $
29, Farm animais Examples: Livestock, poultry, farm-raised fish
$ $
30. Farm machinery and equipment (Other than titked motor vehicles)
$ $
31. Farm and fishing supplies, chemicals, and feed
$ $
32. Other farming and fishing-related property not already listed in Part 6
5 $
Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 3

Case 24-21812-rmb Doc1 Filed 04/12/24 Page 11 of 41

Debtor Enduring Love international Center, LLC Case number grinean

Name

_ 33. Total of Part 6. 5
Add lines 28 through 32. Copy the total to line 85.

34, ts the debtor a member of an agricultural cooperative?

id No

QI) Yes. Is any of the debtor's property stored at the cooperative?

CL] No
CL) Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

id No

) Yes. Book value $ Valuation method Current value $

36. Isa depreciation schedule available for any of the property listed in Part 67

id No
Cl Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

Md No
LI Yes

a Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

Md No. Go to Part 8.

L) Yes. Fill in the information below.

General description oo : De ° Netbook value of . Valuation method "Current value of debtor's
ee - : : - debtor's interest used for current value interest

(Where available)

39. Office furniture

$ $
40. Office fixtures
$ $
44, Office equipment, including ali computer equipment and
communication systems equipment and software
$ $

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
artwork; books, pictures, or other art objects; china and crystal; starmp, coin,
or baseball card collections; other collections, memorabilia, or collectibles

ay $ $
422 §

42,3. $

43. Total of Part 7.
Add lines 39 through 42. Copy the total fo fine 86.

44, is a depreciation schedule available for any of the property listed in Part 77

C] No
CI ves
45, Has any of the property listed in Part 7 been appraised by a professional within the last year?

LJ No
L) ves

Official Form 2064/8 Schedule AIB: Assets — Real and Personal Propert page 4
Case 24-21812-rmb Doc1 Filed 04/12/24 Page 12 of 41

Debtor

Enduring Love International Center, LLC Case number qr snoxm

Name

Machinery, equipment, and vehicles

46.

47.

Does the debtor own or lease any machinery, equipment, or vehicles?

No. Go to Part 9.

(L] Yes. Fill in the information below.

General description Nat book value of Valuation method used
debtor's interest for current value

include year, make, model, and identification numbers (e., VIN, (Where available)

HIN, or N-number}

Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

Current value of
debtor's Interest

474 $ $
47.2 $ $
47.3 3 $
47.4 $ $
! 48, Watercraft, trailers, motors, and related accessories Examples: Boats,
: trailers, motors, floating homes, personal watercraft, and fishing vessels
aad $ $
48.2 $ $
49. Aircraft and accessories
49.1 $ $
49.2 $ $
|
' 50. Other machinery, fixtures, and equipment (excluding farm
machinery and equipment)
$ $
51. Total of Part 8. 50.00
Add lines 47 through 50. Copy the {otal to line 87.
52. Is a depreciation schedule available for any of the property listed in Part 87
id No
i] yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
{Ad No
CL) Yes
Official Form 2G6A/B Schedule A/B: Assets —- Real and Personal Property page 5
Case 24-21812-rmb oc i Filed 64/4 [24 Page 13 of 41

Debtor

Enduring Love international Center, LLC Case number irinaur)

Mame

Be Real property

54.

4

j

| 5,

56.

57.

58.

59.

Does the debtor own or lease any real property?
LL] No. Go to Part 10.

4d Yes. Filf in the information below.
Any building, other improved real estate, or land which the debter owns or in which the debtor has an interest

Description and focation of property Nature and extent Net book value of Valuation method used
include street address or other description such as of debtor's interest debtor's interest for current value
Assessor Parcel Number {APN}, and type of property in property (Where available) :

{for example, acreage, factory, warehouse, apartment

or office building), if avaitable,

Gurrent value of
debtor's interest

55,4 11301 W Lake Park Drive g 1,000,000 market value , 600,000
55.2 $ §

55.3 3

55.4 $ 6

55.6 $ 6

55.6 § 6

Total of Part 9. , 600,000

Add the current value on fines 55.1 through 65.6 and entries from any additional sheets. Copy the total to line 88.

Is a depreciation schedule available for any of the property listed in Part 9?

td No

L) yes

Has any of the property listed in Part $ heen appraised by a professional within the last year?
id No

L) Yes

a Intangibles and intellectual property

Does the debtor have any interests in intangibles or intellectual property?
{2 No. Go to Part 11.
(J Yes. Fill in the information below.

General description Net book value of Valuation method
debtor's interest used for current value

{Where avallable)

‘Current vatue of
debtor's interest

60. Patents, copyrights, trademarks, and trade secrets
§ $
. 61. Internet domain names and websites
$ 8
62. Licenses, franchises, and royalties
3 $
63. Customer lists, mailing lists, or other compilations
$ $
i
: 64. Other intangibles, or intellectual property 5
$
65. Goodwill
§ $
66. Total of Part 10. $
Add fines 60 threugh 65. Copy the total to line 89.
Official Form 2064/B Schedule A/B: Assets — Real and Personal Property page 6

Case 24-21812-rmb Doc1 Filed 04/12/24 Page 14 of 41

Debtor Enduring Love International Center, LLC Case number tirknown)

Name

67. Do your fists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 401(44A) and 107}?

ld No
Ct Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 167
id No
L} Yes
69. Has any of the property fisted in Part 10 been appraised by a professional within the last year?
ld No
Cl Yes

Ex All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
include all interests in execulory contracts and unexpired leases not previously reported on this form.
td No. Go to Part 12.
L} Yes. Fill in the information below.

71, Notes receivable
Description (include name of obligor)

Current value of
debtor’s interest

_ => ¢
Total face amount doubtful or uncoffectible amount
72. Tax refunds and unused net operating losses (NOLS)
Description (for exampia, federai, state, local)
Tax year $
; Tax year $
Tax year $
73. Interests in insurance policies or annuities
74. Causes of action against third parties (whether or not a lawsuit
i has heen filed)
Nature of claim
Amount requested $
75. Other contingent and unliquidated claims or causes of action of
} every nature, including counterclaims of the debtor and rights to
set off claims
$
Nature of claim
Amount requested $
76. Trusts, equitable or future interests in property
$
77. Other property of any kind not already listed Examples: Season tickets,
country club membership
78. Total of Part 17. §

Add lines 714 through 77. Copy the total to line 90.

79, Has any of the property listed in Part 11 been appraised by a professional within the last year?
4 No

L} yes

Oeil Fom 2068 Case 24-21812-mb Dod ft Filed 04) 12/34" Page 15 of 41

page 7

Enduring Love International Center, LLC

Name

In Part 12 copy all of the totals from the earlier parts of the form.

Case nuniber (ifknown)

BDebior

Type of property Current value of Current value
personal property of real property
80, Cash, cash equivalents, and financial assets. Copy fine 5, Part 7. 3900.00
50
81. Deposits and prepayments. Copy fine 9, Part 2.
i 50
82. Accounts receivable. Copy line 12, Part 3.
30
83. investments. Copy line 17, Part 4.
50
84. Inventory. Copy fine 23, Part 5.
85. Farming and fishing-related assets. Copy line 33, Part 6. 30
86. Office furniture, fixtures, and equipment; and coilectibles. $ 0
Copy line 43, Part 7.
87. Machinery, equipment, and vehicles. Copy fine 57, Part 8. $ 0
4,000,000
88. Rea! property. Copy fine 56, Part Qo... .ccccssesecssssssssssssesssssssessesseessstessssnssnseseesseeessnisnesssesesse aD ee
89. Intangibles and inteflectuai property. Copy line 66, Part 10. $ 0
90. All other assets. Copy tine 78, Part 17. + $ 0

91. Total. Add lines 80 through 90 for each COlUMINA. 0... eee O18. 3900.00 + 91b. 3 1,000,000 _

¢ 1,000,500.00

92, Total of all property on Schedule AJB, Lines 97a + OED G2. i eceseeetserrenerreecrestcessenseessesnenseemnuecsnesssesseeeesssnaaennessaenees

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 8
’ Case 24-21812-rmb Doc1 Filed 04/12/24 Page 16 of 41

TGR er cenrrck eT mC pete

Debtor name Enduring Love International Center, LLC

United States Bankruptcy Court for the: Eastern

District of “VI

Case number (If known):

{State}

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

CJ Check if this is an
amended filing

12/15

Be as compiete and accurate as possible,

1. Do any creditors have claims secured by debtor’s property?
(2 No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

4 Yes. Fill in all of the information below.

Cri List Creditors Who Have Secured Ciaims

2. List in alphabetical order all creditors who have secured claims. if a creditor has more than one
secured claim, list the creditor separately for each claim.

Column A

Amount of claim
Do not deduct the value

Column B
Vatue of colfaterat
that supports this

of collateral, claim
Creditors name Describe debtor's property that is subject to a lien
FCt Lender Servicers, inc Mortgage § 362,000 3 4,000,000
Creditor’s mailing address
PO Box 27370
Anaheim CA 92809-0172 Describe the lien
Line of Equity
Creditor's email address, if known Is the creditor an insider or related party?
help@myfci.com 4 No
p@my C yes
Date debt was incurred 11/2022 is anyone else fiable on this claim?
Last 4 digits of account Id No
as IQs oF acco CI Yes. Fill out Schedule H: Codeblors (Official Form 206H).
number 3 7 5 0.
Do multiple creditors have an interest in the As of the petition filing date, the claim Is:
same property? Check all that apply.
u No oo QO Contingent
Yes. Specify each creditor, including this creditor, WZ Untlquidated
and its relative priority.  bisputed
Ex] Creditor's name Describe debtor's property that is subject to a lien
Halloin Law Group, LLC 11301 West Lake Park Drive $2,500,000 g 1,000,000
Creditor’s mailing address
839 N Jefferson Street Fifth Fioor
Milwaukee, WI 53202 Describe the lien
Cour Judgement
Creditor’s email address, if known ts the creditor an insider or related party?
No
O ves
Date debt was incurred is anyone else liable on this claim?
Last 4 digits of t \d No
Nanther S of accoun OO Yas. Fit oul Schedule H: Codebtors (Official Form 206H).
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
kd No {d Contingent
OO Yes. Have you already specified the relative LI Untiquidated
priority? U1 bisputed
OQ no. Specify each creditor, including this
creditor, and its relative priority.
(I Yes. The relative priority of creditors is
specified on lines —
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional ¢ 3,262,000
Page, if any.
Official Form 206D page 1 of

Case 24S2haigle bi Fredito Who paver’ ipaps Gepire/pyPropemtyage 17 of 41

Debtor Enduring Love international Center, LLC Case number grkacwn)

Name

. Column A Column B
Additional Page Amount of claim Value of collateral
Do not deduct the valee that supports this
of collateral. claim

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page.

2._| Creditor’s name Describe debtor's property that is subject to a lien
Kingdom Come Academy 11301 West Lake Park Drive
¢ 400,000 31,000,000
Creditors mailing address
11301 West Lake Park Drive
Miiwaukee, WI 53224 Describe the lien
Services Rendered
Creditor’s email address, if known Is the creditor an insider or related party?
{4 No
© Yes
Date debt was incurred 06/01/2021 oo else liable on this claim?
No
Last 4 digits of account CF Yes. Fill out Schedule H: Codebtors (Official Form 2061).
Do multiple creditors have an interest in the As of the petition filing date, the clatm is:
same property? Check all that apply.
No ©) contingent
Q) ves. Have you already specified the relative 4 Disputed
priority?
O) No. Specify each creditor, including this
creditor, and its relative prionty,
Q) Yes. The relative priority of creditors is
specified on lines
2_| Creditor's name Describe debtor's property that is subject to a lien
$ 3
Creditor's mailing address
Describe the lten
Craditor's email address, if known Is the creditor an insider or refated party?
Q no
Q Yes
Date debt was incurred Is anyone else liable on this claim?
GQ no
rast clans of account Q1 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
Do multiple creditors have an interest in the As of the petition filing date, the clatm is:
same property? Check all that appiy.
LI No C1 contingent
( Yes. Have you already specified the relative a Uniiquidated
priority? Disputed
(3 No. Specify each creditor, including this
creditor, and its retative priority.
CJ Yes. The relative priority of creditors is
specified on lines
Official Form 206) Additional Page of Schedule D:; Creditors Who Have Claims Secured by Property page soof_

Case 24-21812-rmb Doc1 Filed 04/12/24 Page 18 of 41
Enduring Love international Center, LLC

Name

Debtor

Ee List Others to Be Notified for a Debt Already Listed in Part 1

Case nuniber (ifAnosn)

agencies, assignees of claims fisted above, and attorneys for secured creditors.

Name and address

FCi Lender Servicers, Inc

On which jine in Part 7
did you enter the
related creditor?

List in alphabetical order any others who must be notified for a debt already fisted in Part 1. Examples of entittes that may be listed are collection

lf no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Last 4 digits of
account number
for this entity

PO Box 27370 Line 2.__ 9 7 5 oO

Anaheim CA 92809-0112

Haltoin Law Group, LLC

839 N Jefferson Street Fifth Floor Line 2 O67 1 0

Milwaukee, Wi 53202

KingdaomComeAcademy :

11301 West Lake Park Drive Line 2. _ 20 21

Milwaukee, WI 53224
Line 2. oe
Line 2. a
Line 2. oe
Line. nt nn
Line 2. oe
Line 2. ee
Line 2, ee ee
Line 2. ee
Line 2. ee
Line 2. _
Line 2. oo

Form 2G6D Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page _ of

2
Case 24-21812-rmb Doci1_ Filed 04/12/24

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TTR Ce CLERC Coat Lh Ue elo

Enduring Love international Center, LLC

District of WI
(State)

Debtor

United States Bankruptey Court for the: Eastern

Case number
(IF known}

C] Check if this is an
amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possible. Use Part ¢ for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

a List All Creditors with PRIORITY Unsecured Ciaims

4. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507}.
(4 No. Go to Part 2.
Q) Yes. Go to tine 2.
2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. if the debtor has more than
3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 4.
Total claim Priority amount
Priority creditor's name and mailing address As of the petition filing date, the claimis: ¢ $
Check all that apply.
QC) Contingent
(1 unliquidated
QC) Disputed
Date or dates debt was incurred Basis for the cialm:
Last 4 digits of account ts the claim subject to offset?
number QO) No
QO) Yes
Specify Code subsection of PRIORITY unsecured
claim: 14 U.S.C. § 507(a) { )
Ee) Priority creditor's name and mailing address As of the petition filing date, the claimis: > 3
Check ail that apply.
C) Contingent
( unliquidated
C) Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account is the claim subject to offset?
number ee OQ No
; Q ves
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ¢ }
Ee] Priority creditor's name and mailing address As of the petition filing date, the claimis: ¢ $
Check all that apply.
OQ Contingent
U unliquidated
1 Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account Is the claim subject to offset?
number _ QO) No
O) Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a} ( j
Official Form 206E/F Case 24-218 1thadiils EE eyestijors Wi patgveMyigez ppd ClainBage 20 of 41 page 1 of ___

Debtor Enduring Love International Center, LLC

Case number Gf knonn},

Name

[a * Additional Page

f

bE:

“Copy this page if more space eis needed. Continue numbering the lines sequentially f from the.

Official Form 2085 Case 24-218 PB BOE T* PRET UA Pa aI Page 21 of 41

Previous page. if no additional PRIORITY. creditors axist, do not fill out or submit this page. » Totat claim Priority amount
2 Priority creditor's name and mailing address 5 5
As of the petition filing date, the claim is:
Check all that apply.
C) Contingent
O) unliquidated
Q) Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account Is the claim subject to offset?
number oe CQ] No
Q) Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507{a} { }
2. | Priority creditor's name and mailing address $ $
As of the petition filing date, the claim is:
Check alf that apply.
QO) Contingent
Q) untiquidated
O Disputed
Date or dates debt was Incurred Basis for the claim:
Last 4 digits of account ls the claim subject to offset?
number oe CI No
. ; CQ) yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C, § 507(a} ( }
2. Priority creditor's name and mailing address &
As of the petition fillng date, the claim is:
Check all that apply.
CI Contingent
C} unliquidated
C} pisputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account Is the claim subject to offset?
number oe (3 No
(I Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) )
2. | Priority creditor’s name and mailing address $ §
As of the petition filing date, the claim is:
Check ail that apply.
Contingent
QO unliquidated
CQ Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account is the claim subject to offset?
number C1 No
. . CO Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a} { }
page __ of

Debtor

Enduring Love International Center, LLC

Name

ir List All Creditors with NONPRIORITY Unsecured Claims

Case number {i tncwn)

3.4] Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the clalmis:

Check all that apply.
QO) Contingent
LJ Unliquidated
C] Disputed

Basis for the claim:

3. List in alphabetical order ail of the creditors with nonpriority unsecured claims. {f the debtor has more than 6 creditors with nonpriority
unsecured claims, fill out and attach the Additional Page of Part 2.

Amount of claim

ls the claim subject to offset?

Q No
CQ ves

3. Nonpriority creditor's name and mailing address

Date or dates debt was Incurred

Last 4 digits of account number

As of the pefition filing date, the claimis:

Check all that apply.
C] Contingent
() unliquidated
C) Disputed

Basis for the claim:

ls the claim subject to offset?

CQ) No
Q ves

3.3 Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

As of the patition filing date, the clalmis:

Check aif that apply.
QI Contingent
Q) unliquidated
QL) Disputed

Basis for the claim:

is the claim subject to offset?
CQ) No
CY ves

3.4] Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the cialmis:

Check all that apply.
C1 Contingent
OO unliquidated
LI Disputed

Basis for the claim:

is the claim subject to offset?
CO} No
CF Yes

3.5| Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim is:

Check aif that apply.
(] Contingent
(J unliquidated
(1) Disputed

Basis for the claim:

Is the claim subject to offset?
(2 no
(] ves

3.6) Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

As of the petition fillng date, the claim is:

Check ail that apply.
£2 Contingent
CA Unliquidated
CJ Disputed

Basis for the claim:

Is the claim subject to offset?

Q) No
QO) Yes

Official Form 206E/F

Case 24-218 2Ssheduts FF eseesiters MEpdigredpges pend Clainisage 22 of 41

page of

Deblor Enduring Love International Center, LLC

Case number tif kaown}

Name

Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
:. previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.”

3.__| Nonpriority creditor's name and mailing address

Date or dates debt was Incurred

Last 4 digits of account number

As of the petition filing date, the claim Is:

Check all that apply.

(] Contingent

(I Unliquidated

(J pisputed

() Liquidated and neither contingent nor
disputed

Basis for the claim:

Amount of claim

Is the claim subject to offset?
UL] No
C) ves

3_| Nonpriority creditor's name and mailing address

Bate or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim fs:
Check all that apply.

C] Contingent

(J unliquidated

CQ] Disputed

Basis for the claim:

Is the claim subject to offset?
O No
O) yes

3,___| Nonpriority creditor’s name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim ts:
Check all that apply.

Q) Centingent

CJ unliquidated

Q] pisputed

Basis for the claim:

Is the claim subject to offset?
O No
O) ves

3_| Nonpriority creditor's name and mailing address

Date or dates debt was Incurred

Last 4 digits of account number

As of the petition filing date, the claim is:
Check ail thet apply.

C] Contingent

{J Unliquidated

(J Disputed

Basis for the claim:

Is the claim subject to offset?
O) No
U Yes

3._.| Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

As of the pefition filing date, the claim Is:
Check aff fhat apply.

O Contingent

CO Untiquidated

( Disputed

Basis for the claim:

Is the claim subject to offset?
O no
Cl yes

Official Form 206E/F

Case 24-218 BStreyis EFesiesiters payed eared SB age 23 of 41

page of

Debtor Enduring Love International Center, LLC Case number Wizoan}

Name

ca List Others to Be Notified About Unsecured Claims

4, List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and mailing address On which line in Part 1 or Part 2 is the Last 4 digits of
related creditor (if any) listed? account number, if
any
44. Line

Cl Not tisted. Exptain ce ee

4.2, Line
C1 Notlisted. Exptain ee

4.3. Line

tL] Not tisted. Exptain — — ——

4.4, Line
O] Notlisted, Explain ee

44, Line

£] Not listed. Explain meres en

4.5. Line

©) Not listed. Exptain ee

4.6. Line

OC] Nol listed. Explain ——_—

4.7. Line

L) Not listed. Explain ee ee

4.8. Line

©) Not listed. Explain ee

4.9. Line

£) Not listed. Explain —_ — — —

©) Notlisted. Expiain ce ate

Line

CL) Not fisted. Explain ee

Official Form 208E/F = Case 24-218 Baberils FF Esaesitprs Wehpatqyveuyseoyond Clainpage 24 of 41 page _of __

Debtor Enduring Love international Center, LLC

Name

Case number (ifknown}

Ea Additional Page for Others to Be Notified About Unsecured Claims

Name and mailing address

On which fine in Part 4 or Part 2 is the
related creditor {if any} listed?

Last 4 digits of
account number,
if any

Official Form 206E/F

Case 24-218 hats EFEyaeditors Minpdiqvedpsespred Clalmsaqe 25 of 41

4, Line

UO Notlisted. Explain — — —_—
4 Line

1 Netlisted. Explain — —_— —
4. Line

(Not listed. Exptain ne
4 Line

{) Not listed. Explain — —
a Line

L} Not listed. Explain —_— — —
4 Line

L) Not listed. Explain a
4. Line

Cl Not listed. Explain —_
4A Line

Not listed. Explain a
4. Line

C) Not listed. Explain ee
4. Line

(Not listed. Exptain ee
4. Line

(C) Not listed. Explain — — —
4. Line

C) Not listed. Explain ee a
4. Line

[J Notlisted. Explain ee
A Line

Q) Natlisted. Explain a

page of

Enduring Love International Genter, LLC

Name

a Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Bebtor Case number (i known)

Total of claim amounts

5a. Total claims from Part 1 Sa, $
5b. Total claims from Part 2 5b, + $.
5c. Total of Parts 1 and 2 5 $
Ce
Lines Sa + 5b = 5c.

Official Form 206E/F = Case 24-218 1S8hesuls EFESiesiters Mehedyeuygespeed Clainis qe 26 of 41 page _ of _
IMIG cela tiestiCese Come Taam UiCMer tile Mea eB

Debtor Name ENduring Love International Center, LLC

Eastern Diswiceer Vl

United States Bankruptcy Court for the:
(State)

Case number (if known):

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12115

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 13414,

1519, and 3571.

[re] Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Of Of*RAAADA

Other document that requires a declaration

_

| declare under penalty of perjury that the foregoing is true and correct: ae f ”
Executed on 04/11/2024 x L¢ eee Ff
MM/DD/YYYY Signature of individual aie! of deblor /

/

Candie Yer Herr

Printed name

Authorized Signatory

Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

Case 24-21812-rmb Doc1 Filed 04/12/24 Page 27 of 41
MUU MUU UCN eek am Urs tc

Debtoraame Enduring Love International Center, LLC

United States Bankruptcy Court for the: Eastern District of WI
(State)

Case number (If known):

Ll Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy —_ 04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

1. Gross revenue from business

kd None
Identify the beginning and ending dates of the debtor's fiscal year, which _ Sources of revenue | Gross revenue
may he a calendar year Check all that apply {before deductions and
exclusions)
From the beginning of the C) Operating a business
fiscal year to filing date: From to _—- Filing date OC) other $
MM DDIYYYY
For prior year: From to C) operating a business §
MMOD IYYYY MM /DDIYYYY C) other
For the year before that: From to (I) operating a business
MMSDDIYYYY HM PDD IYYYY 0 other $

2. Non-business revenue

Include revenue regardiess of whether that revenue fs taxable. Non-business income may include interest, dividends, money collected
from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

\d None
Description of sources of revenue . ‘Gross revenue from each
mol, oO -- “source : a
{before deductions and
exclusions}
From the beginning of the
fiscal year to filing date: = From to Filing date 5
MMF DDT YYYY
For prior year: From fo
MM DD SYYYY MM/ODIYYYY $
For the year before that: From to
MM/ODIYYYY MM ADD IYYYY 3
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 1

Case 24-21812-rmb Doc1 Filed 04/12/24 Page 28 of 41
Debtor Enduring Love International Center, LLC Case number tifknasn),

Name

3. Certain payments or transfers to creditors within 90 days before filing this case

List payments or transfers—inciuding expense reimbursements—to any creditor, other than regular employee compensation, within 90
days before filing thls case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the dale of adjustment.}

4 None
Crediter’s name and address Dates Total amount or value Reasons for payment or transfer
Check all that apply
34.
C] = Secured debt
Crecitors name (J Unsecured [oan repayments
Street QO Suppliers or vendors
Senices
Elly State ZIP Code CJ other
3.2.
$ Cj Secured debt
Creditors name CJ unsecured loan repayments
Street Ql Suppliers or vendors
Ci Senices
Cily State ZIP Code QO) ather

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider

List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed fo an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
$7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
Do not include any payments listed in fine 3. insiders include officers, directors, and anyone in control of a corporate debtor and their telalives;

general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
the debtor. 11 U.S.C. § 101(31).
\/ None
Insider's name and address Dates Total amount or value Reasons for payment or transfer
44.
- $
Insider's name
Street
Cily State 2iP Code
Relationship to debtor
42,
. $
(Insider's name
Streal
City Stale ZIP Code
Relationship to debtor
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 2

Case 24-21812-rmb Doc1 Filed 04/12/24 Page 29 of 41

Debtor Enduring Love International Center, LLC Case auniber ofknoan}

Name

5. Repossessions, foreciosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not inctude property listed in line 6.

id None
Creditar’s name and address Description of the property Date Value of property

5.1.

Creditors name

Street

City Slate 2iP Code
62.

Creditors name

Street

City State ZIP Code

6. Setoffs
List any creditor, including a bank or financiai institution, thal within 90 days before fiting this case set off or ofherwise took anything from an account of
the debtor without permission or refused to make a payment al the debtor's direction from an account of the debtor because the debtor owed a debt.

CJ None
Creditor's name and address Description of tha actlon creditor took Date action was Amount
taken
Halloin Law Group, §.C. Bank garnishment 03/14/2023 ¢ 71,685.88
Creditor's name
839 N Jefferson Ave Fifth Flr US Bank Checking and Savings Accounts
Street
Milwaukee WI §3202 Last 4 digits of account number: XXXX-_
City Stale ZIP Code

rr Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the lega! actions, proceedings, investigations, arbitrations, mediations, and audiis by federal or state agencies in which the debtor
was involved in any capacity—within 1 year before filing this case.

O] None
Case title Nature of case Court or agency's name and address Status of case
™ Long Lee et al vs. Kay Yang et al Civil Judgement Ozaukee County Circuit Court CJ Pending
Name . fon appeal
1201 S Spring Street
Case number Street kd conctuded
2022CV000162 Port Washington WI §3074
City State ZIP Code
Case title Court or agency’s name and address QO Pending
72 Long Lee et al vs. Enduring Love International Center, LLC Milwaukee County Circuit Court kd On appeal
os Name
Case number Civil Judgement 901 N Sth Street Room 104 OQ Concluded
Street
2023CV000710 / 2023C'V001 508
Milwaukee Wi 53233
City Slate ZIP Code
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Debtor Enduring Love International Center, LLC Case number ptanean)

Name

8. Assignments and receivership

List any properly in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

{4 None
Custodian's name and address Description of the property Value
$
Custodian’s name
Case title Court name and address
Street
Name
Case number
City Stale ZiP Code Street
Date of order or assignment
City State ZIP Goda

a Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
of the gifts to that recipient is less than $1,000

\d None
Recipient's name and address Description of the gifts or contributions Dates given Value
—_—_———-__ $
1. Reciplent’s name
Street
City State ZIP Cade

Reciptent’s relationship to debtor

$
9.2. Recipient's name
Street
Clty State ZIP Code
Recipient's relationship to debtor
Cr Certain Losses
10. All losses from fire, theft, or othar casualty within 1 year before filing this case.
MJ None
Description of the property lost and how the loss _. Amount of payments received for the loss ’ Date ofloss Value of property
occurred ee ce ‘| + = Ifyou have received payments to cover the loss, for mo fost vs
, : Te example, from insurance, government compensation, or :
tort liability, list the tolal received. : .
List unpaid claims on Official Form 106A/B (Schedule A/B:
Assets — Real and Personal Property).
$
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Debtor Enduring Love International Center, LLC Case number prinoan)

Name

ao Certain Payments or Transfers

11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
seeking bankruptcy relief, or filing a bankruptcy case.

kd None
Who was paid or who received the transfor? ff not monay, describe any property transferred Dates Total amount or
value
441
$
Address
Street
City State ZIP Code
Email or website address
Who made the payment, if not debtar?
Who was paid or who received the transfer? [f not money, describe any property transferred Dates Tota! amount or
value
112.
$
Address
Street
City State ZIP Coda

Email or website address

Who made the payment, if not debtor?

42. Self-settled trusts of which the debtor is a beneficiary
Lisi any payments or transfers of property made by the debtor or a person acting on behalf of the debter within 10 years before the filing of this case to

a self-settled trust or similar device.
Do not include transfers already listed on this statement.

CL) None
Name of trust or device Describe any property transferred | - Soop : Dates transfers Total amountor ~
: were made value
7-FOLD RETURN TRUST Real property Hi2022 g 1,000,000
Trustee
DAVID WESTCOFF
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Debtor Enduring Love International Center, LLC Case number (known)

Name

43. Transfers not already listed on this statement

List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor
within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
Include both culsight transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

M4 None
Who received transfer? Description of property transferred or payments received Date transfer Total amount or
or debts paid in exchange was made value
13.1. eee $
Address
Street
City State ZIP Code
Relationship to debtor
Who received transfor? $
14.2.
Address
Street
City State ZIP Code
Relationship to debtor
Previous Locations
14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
{4 Does not apply
Address Dates of occupancy
14.1. From To
Streat
City State ZIP Code
14.2. From To
Street
City State ZIP Code
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Debtor Enduring Love International Center, LLC Case number ¢rincan

Name

Health Care Bankruptcies

45. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
-— diagnosing or treating injury, deformity, or disease, or
-— providing any surgical, psychiatric, drug treatment, or obstetric care?

4d No. Go to Part 9.
LY Yes. Fill in the information below.
Facility name and address Nature of the business operation, Including type of services the If debtor provides meals

debtor provides and housing, number of
patients in debtor's care

16.1.

Facifily name
Street Location where patient records are malntained (if different from facility How are records kept?
address). If electronic, identify any service provider.
Check aif that apply:
Bity Sate ZiP Code (2 Electronically
Paper
Facility name and address Nature of the business operation, lactuding type of services the if debtor provides meals
debtor provides and housing, aumber of
patients in dabtor’s care
15.2.
Facility name
Sireet Location where patient records are maintained (if different from facility How are records kept?
address). If electronic, identify any service provider,
Check all that apply:
City Sale FP Code L) Electronically

() Paper

Eo Personaily Identifiable Information

46. Does the debtor collect and retain personally identifiable information of customers?

(d No.

C] Yes. State the nature of the information collected and retained.
Does the debtor have a privacy policy about that information?
C] No
C] ves

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
pension or profit-sharing plan made available by the debtor as an employee benefit?

{d No. Go to Part 10.
Yes. Does the debtor serve as plan administrator?
C] No. Go to Part 10.

CI) Yes. Fili in befow:
Name of plan Employer Identification number of the plan

Has the plan been terminated?

C} No
C} Yes

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Debtor Enduring Love International Center, LLC Case number (iinowa)

Name

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, o7 for the debtor's benefit, closed, sold,
moved, or transferred?
Include checking, savings, money markel, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
brokerage houses, cooperatives, associations, and other financial institutions.

id None
Financial institution name and address Last 4 digits of account Type of account Date account was Last balance
number closed, sold, moved, before closing or
or transferred transfer
18.1. XXXX— Q Checking $
Name LI Savings
Street LY Money market
CO Brokerage
City Siale ZiP Code 3 other
18.2, XXMK— Q Checking $
Name Qj Savings
Street (J Money market
i Brokerage
City State ZIP Code CY other

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

id None
Depository institution name and address Names of anyone with access to it Description of the contents Oe ee
C3 No
Name CL} Yes
Street
Address
City Slate ZIP Code

20. Off-premises storage
List any property kepl in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

id None
Facility name and address Names of anyone with access to It Description of the contents Does debtor
still have it?
&] No
5 O] ves
ame
Street
Address
City Stale ZIP Code
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Debtor Enduring Love international Center, LLC Case number te known)

Name

ao Property the Debtor Holds or Gontrois That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. include any property borrowed from, being stored for, or held in
trust, Do not iist leased or rented property.

\d None
Owner's name and address Location of the property Description of the property Value
$
Name
Street
City State ZiP Code

Gi Details About Environmental Information

For the purpose of Part 12, the following definitions apply:

a Environmental /aw means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
regardless of the medium affected (air, land, water, or any other medium).

a Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
formerly owned, operated, or utilized.

a Hazardous material means anything that an environmental law defines as hazardous or foxic, or describes as a pollutant, contaminant,
of a similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party In any judicial or administrative proceeding under any environmental law? Include setilerments and orders.

id No
L} Yes. Provide detaits below.
Case titie Court or agency name and address Nature of the case Status of case
Q Pending
Case number Name CY on appeal
aaa LL] Concheded
City Stale ZIP Code

23.Has any governmental unit otherwise notified the debtor that the debtor may he liable or potentially liable under or in violation of an
environmental law?

id No

1 Yes. Provide details below.

Site name and address Governmental unit name and address Environmental law, if known Date of notice
Name Name
Street Street
City State ZIP Code City Stale ZIP Cade
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Debtor Enduring Love International Center, LLC

Name

Case number (krona),

M4 No
() Yes. Provide details below.

Site name and address

24,Has the debtor notified any governmental unit of any release of hazardous material?

Governmental! unit name and address

Environmental law, if known

Date of notice

Name Name
Street Street
ony Slata ZIP Code City Slate ZIP Cade

Ce Details About the Debter’s Business or Connections to Any Business

td None

Business name and address

25, Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in contro! within 6 years before filing this case.
include this information even if already listed in the Schedules.

Describe the nature of the business

25.1.
Name
Street
City State ZIP Cada
952 Business name and address Describe the nature of the business
Name
Street
City Stale ZIP Code
Business name and address Describe the nature of the business
26.3,
Name
Street
City State ZIP Code

Employer Identification number
Do not include Social Security number or ITN.

EIN: -

Dates business existed

From To

Emptoyer Identification number
Do not include Social Security number or ITEN.

EIN: -

Dates business existed

From To

Employer identification number
Do not include Social Security number or ITIN.

EIN: -

Dates business existed

From To

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Debtor Enduring Love international Center, LLC Case number tiksonm

Name

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

UL None
Name and address Dates of service

From01/01/2021 To Present

26a.1. Candie Yer Herr
Name
41301 West Lake Park Drive
Streat

Milwaukee Wi §3224
City State ZIP Code

Name and address Dates of service

From To

264.2.

Name

Street

Cily Slate ZIP Code

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
statement within 2 years before fillng this case.

id None

Name and address Dates of service

From To

26b.1.

Name

Street

City Slate ZiP Code

Name and address Dates of service

From To

26b.2.

Name

Street

Cily State ZIP Coda

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

\d None
ff any books of account and records are
Name and addrass unavailable, explain why
260.4.

Name

Street

City State ZIP Code

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Debtor Enduring Love International Center, LLC Case number grsnoan)

Name

If any books of account and records are

Name and address .
unavailable, explain why

26¢.2.

Name

Street

City State ZIP Code

26d. List all financiat institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
within 2 years before filing this case.

{4 None

Name and address

260.4.
Name
Street
Cily State ZIP Code
Name and address
260.2.
Name
Street
City State ZIP Code

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

No
C) Yes. Give the details about the two most recent inventories.

Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventary
$

Name and address of the person who has possession of Inventory records

27.1.
Name
Street
City Stale ZIP Code

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Enduring Love International Center, LLC Case number ottacun

Debtor
Name
Name of the person who supervised the taking of the inventory Date of Tie dollar amount and basis (cost, market, or
laventory other basis) of each inventory
$
Name and address of the person who has possession of inventory records
27.2.
Name
Street
City State 2iP Code

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other
people in control of the debtor at the time of the filing of this case.

Name Address Position and nature of any % of interest, if any
Interest
Candie Yer Herr 11301 West Lake Park Drive Director 100 %

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
of the debtor, or shareholders In contro! of the debtor who no longer hold these positions?
i No
U1 Yes. identify below.

Name Address Position and nature of Period during which
any interest position or interest was
held
From To
From To
From To
From To

3¢. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing {his case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
bonuses, lcans, credits on loans, stock redemptions, and options exercised?

td No
CI Yes. Identify below.

Name and address of recipient : Jo. ’ Amount of money or Dates , :,. Reason for
description and value of providing the value
property

30.4.

Name

Street

Cily State ZIP Code

Rolationship to debtor

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Enduring Love International Center, LLC Case number (known)

Debtor
Name
Name and address of recipient
30.2
Name
Street
City State ZIP Code

Relationship to debtor

31.Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
4 No
Q) Yes. Identify below.

Name of the parent corporation Employer Identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
{4 No
Q) Yes. Identify below.

Name of the pension fund Employer Identification number of the pension fund

Fite Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

TMM 7 DD_1yvYY——_
on

Signature of individual signing on behalf of the debtor
{

Position or relationship to debtor

Candie Yer Herr

Printed name

*
RA
‘

Authorized Signatory

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

WW No
__ OU Yes"

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 14

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